                                                            United States Bankruptcy Court
                                                               Eastern District of Wisconsin
 In re      Alice Julie Bobeck                                                                   Case No.   16-25233
                                                                            Debtor(s)            Chapter    13



                                                                  CHAPTER 13 PLAN


                                                                        NOTICES

NOTICE TO DEBTORS: This plan is the model plan as it appears in the Appendix to the Local Rules of the
Bankruptcy Court for the Eastern District of Wisconsin on the date this plan is filed. THIS FORM PLAN MAY NOT
BE ALTERED IN ANY WAY OTHER THAN WITH THE SPECIAL PROVISIONS IN SECTION 10.

         A check in this box indicates that the plan contains special provisions set out in Section 10 below.


NOTICE TO CREDITORS: YOUR RIGHTS WILL BE AFFECTED BY THIS PLAN. You should read this Plan carefully
and discuss it with your attorney. If you oppose any provision of this plan you must file a written objection. The time to file
an objection will be in a separate notice. Confirmation of this Plan by the Court may modify your rights. You may receive
less than the full amount of your claim and/or a lesser interest rate on your claim.

You must file a proof of claim in order to be paid under this Plan. Payments distributed by the Trustee are
subject to the availability of funds.

                                                                       THE PLAN

Debtor or Debtors (hereinafter "Debtor") propose this Chapter 13 Plan:

1. Submission of Income.
    Debtor's annual income is above the median for the State of Wisconsin.
    Debtor's annual income is below the median for the State of Wisconsin.

            (A). Debtor submits all or such portion of future earnings or other future income to the Chapter 13 Trustee
            (hereinafter "Trustee") as is necessary for the execution of this Plan.

            (B).     Tax Refunds (Check One):

              Debtor is required to turn over to the Trustee 50% of all net federal and state income tax refunds received
            during the term of the plan.
              Debtor will retain any net federal and state tax refunds received during the term of the plan.

2. Plan Payments and Length of Plan. Debtor shall pay the total amount of $76,200.00 by paying $100.00 * per (check
one) month week every two weeks semi-monthly to Trustee by Periodic Payroll Deduction(s) from (check
one) Debtor Joint Debtor or by Direct Payment(s) for the period of 60 months. The duration of the plan may be
less if all allowed claims in every class, other than long-term claims, are paid in full.

    If checked, plan payment adjusts as indicated in the special provisions located at Section 10 below.




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3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and
belief. Creditors may file a proof of claim in a different amount. Objections to claims may be filed before or after
confirmation.
            The following applies in this Plan:
            CHECK A BOX FOR EACH CATEGORY TO INDICATE WHETHER THE PLAN OR THE PROOF OF CLAIM
            CONTROLS:
                                                                           Plan Controls             Proof of Claim Controls
             A.                  Amount of Debt
             B.                  Amount of Arrearage
             C.                  Replacement Value - Collateral
             D.                  Interest Rate - Secured Claims
            FAILURE TO CHECK A BOX UNDER A CATEGORY IN THIS SECTION WILL MEAN THAT A PROPERLY
            FILED PROOF OF CLAIM WILL CONTROL FOR THE CORRESPONDING SUB-PARAGRAPH OF THE PLAN.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to 507(a)(2) as
set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.

            (A). Trustee's Fees. Trustee shall receive a fee for each disbursement, the percentage of which is fixed by the
            United States Trustee, not to exceed 10% of funds received for distribution.

            (B). Debtor's Attorney's Fees. The total attorney fee as of the date of filing the petition is $ 3,500.00 . The
            amount of $ 640.00 was paid prior to the filing of the case. The balance of $ 2,860.00 will be paid pro rata.
            Pursuant to 507(a)(2) and 1326(b)(1), any tax refund submission received by the trustee will first be used to pay
            any balance of Debtor's Attorney's Fees.

                                                            Total Administrative Claims:                      $6,488.65


5. Priority Claims.

            (A).     Domestic Support Obligations (DSO).

                         If checked, Debtor does not have any anticipated DSO arrearage claims or DSO arrearage claims
                     assigned, owed or recoverable by a governmental unit.

                         If checked, Debtor has anticipated DSO arrearage claims or DSO arrearage claims assigned, owed or
                     recoverable by a governmental unit. Unless otherwise specified in this Plan, priority claims under 11 U.S.C.
                     507(a)(1) will be paid in full pursuant to 11 U.S.C. 1322(a)(2). A DSO assigned to a governmental unit
                     might not be paid in full. 11 U.S.C. 507(a)(1)(B) and 1322(a)(2).
 (a) DSO Creditor Name and Address                          (b) Estimated Arrearage Claim              (c) Total Paid Through Plan
 -NONE-
 Totals                                                                              $0.00                                         $0.00




            (B).     Other Priority Claims (e.g., tax claims). These priority claims will be paid in full through the plan.
 (a) Creditor                                                                                                   (b) Estimated claim
 Internal Revenue Service                                                                                                    $6,000.00
 Wisconsin Department of Revenue                                                                                             $2,000.00
 Totals:                                                                                                                     $8,000.00

            Total Priority Claims to be paid through plan:          $8,000.00
                                                                      2

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6. Secured Claims. The holder of a secured claim shall retain the lien securing such claim until the earlier of the
payment of the underlying debt determined under non-bankruptcy law or discharge under Section 1328. The
value, as of the effective date of the plan, of property to be distributed under the plan on account of such claim is
not less than the allowed amount of the claim.

            (A).     Claims Secured by Personal Property.

                         If checked, The Debtor does not have claims secured by personal property which debtor intends to
                     retain. Skip to 6(B).

                           If checked, The Debtor has claims secured by personal property which debtor intends to retain.

                     (i). Adequate protection payments. Creditor must file a proof of claim to receive adequate protection
                     payments. Upon confirmation the treatment of secured claims will be governed by Paragraph (ii) below.
                     The Trustee shall make the following monthly adequate protection payments to creditors pursuant to
                     1326(a)(1)(C):
 (a) Creditor                                               (b) Collateral                                 (c) Monthly Adequate protection
                                                                                                                         payment amount
 -NONE-
                                                            Total monthly adequate
                                                            protection payments:                                                          $0.00

                     (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
                     personal property shall be paid as set forth in subparagraphs (a) and (b).

                           (a). Secured Claims - Full Payment of Debt Required.

                               If checked, the Debtor has no secured claims which require full payment of the underlying debt.
                           Skip to (b).

                               If checked, the Debtor has secured claims which require full payment of the underlying debt.
                           Claims listed in this subsection consist of debts (1) secured by a purchase money security interest in a
                           vehicle; (2) which debt was incurred within 910 days of filing the bankruptcy petition; and (3) which
                           vehicle is for the personal use of the debtor; OR, if the collateral for the debt is any other thing of value,
                           the debt was incurred within 1 year of filing. See 1325(a)(5). After confirmation the Trustee will pay the
                           monthly payment in column (f).

 (a) Creditor            (b) Collateral                     (c) Purchase       (d) Claim       (e)         (f) Estimated      (g) Estimated
                                                                 Date            Amount     Interest    Monthly Payment           Total Paid
                                                                                              Rate                            Through Plan
 -NONE-
 TOTALS                                                                             $0.00                              $                  $0.00

                           (b). Secured Claims - Replacement Value.

                                  If checked, the Debtor has no secured claims which may be reduced to replacement value. Skip to
                           (B).

                              If checked, the Debtor has secured claims which may be reduced to replacement value. The
                           amount of the debt or the replacement value assigned to the property is in column (d).




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 (a) Creditor                   (b) Collateral                (c) Purchase                 (d)     (e) Interest          (f)Estimated                  (g)
                                                                   Date            Replacement         Rate          Monthly Payment            Estimated
                                                                                    Value/Debt                                                  Total Paid
                                                                                                                                                 Through
                                                                                                                                                      Plan
 -NONE-

 TOTALS                                                                                   $0.00                                          $               $0.00

            (B).     Claims Secured by Real Property Which Debtor Intends to Retain.

                     (i)        If checked, the Debtor does not have any claims secured by real property that Debtor intends to
                            retain. Skip to (C).

                                If checked, the Debtor has claims secured by Real Property that debtor intends to retain. Debtor will
                            make all post-petition mortgage payments directly to each mortgage creditor as those payments
                            ordinarily come due. These regular monthly mortgage payments, which may be adjusted up or down as
                            provided for under the loan documents, are due beginning the first due date after the case is filed and
                            continuing each month thereafter, unless this Plan provides otherwise.
 (a) Creditor                                               (b) Property description
                                                            4456 68th Place Kenosha, WI 53142 Kenosha County
 American Home Mortgage Inc                                 Market value is based on most recent city assessment

                     (ii)

                                 If checked, the Debtor has an arrearage claim secured by Real Property that the Debtor will cure
                            through the Plan. Trustee may pay each allowed arrearage claim the estimated monthly payment
                            indicated in column (d) until paid in full.
 (a) Creditor                             (b) Property                                 (c) Estimated      (d) Estimated Monthly       (e) Estimated
                                                                                    Arrearage Claim                    Payment            Total Paid
                                                                                                                                      Through Plan
                                          4456 68th Place Kenosha, WI
                                          53142 Kenosha County
 American Home Mortgage                   Market value is based on most
 Inc                                      recent city assessment                          $60,000.00                   $Prorata            $60,000.00
 TOTALS                                                                                   $60,000.00                                       $60,000.00

Total Secured Claims to Be Paid Through the Plan: $60,000.00

            (C). Surrender of Collateral. This Plan shall serve as notice to creditor(s) of Debtor's intent to surrender the
            following collateral. Any secured claim filed by a secured lien holder whose collateral is surrendered at or before
            confirmation will have their secured claim treated as satisfied in full by the surrender of the collateral.
 (a) Creditor                                                                   (b) Collateral to be surrendered
 -NONE-

7. Unsecured Claims.

            (A).     Debtor estimates that the total of general unsecured debt not separately classified in paragraph (b) below is
            $ 0.00 . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured
            claims a pro rata share of not less than $ 0.00 or 0 %, whichever is greater.

            (B).     Special classes of unsecured claims:
                           None

                           Total Unsecured Claims to Be Paid Through the Plan:                    $0.00



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8.          Executory Contracts and Unexpired Leases.

                           If checked, the Debtor does not have any executory contracts and/or unexpired leases.

                         If checked, the Debtor has executory contracts and/or unexpired leases. The following executory
                     contracts and unexpired leases are assumed, and payments due after filing of the case will be paid directly
                     by Debtor. Debtor proposes to cure any default by paying the arrearage on the assumed leases or
                     contracts in the amounts projected in column (d) at the same time that payments are made to secured
                     creditors after confirmation.
              (a) Creditor                           (b) Nature of lease or         (c) Estimated arrearage      (d) Estimated monthly
                                                       executory contract                    claim                      payment
 -NONE-
                                                                                Totals:                                                          $

All other executory contracts and unexpired leases are rejected upon confirmation of the plan.

9.          Property of the Estate. Property of the estate shall revest in Debtor (Check one):
                   Upon Confirmation; or
                   Upon Discharge

10. Special Provisions. Notwithstanding anything to the contrary set forth above, the Plan shall include the provisions
set forth below. The provisions will not be effective unless there is a check in the notice box preceding Paragraph
1 of this plan.



 *Detailed Payment Schedule:$100.00 Monthly for 1 month, then $50,000.00 Monthly for 1 month, then $450.00 Monthly for 58
 months

 All funds net Trustee costs to attorney fees until paid in full.

 Debtor will make a lumpsum payment into the chapter 13 plan from her checking account in month 2 of the plan.


11. Direct Payment by Debtor. Secured creditors and lessors to be paid directly by the Debtor may continue to mail to
Debtor the customary monthly notices or coupons or statements notwithstanding the automatic stay.

12. Modification. Debtor may file a pre-confirmation modification of this plan that is not materially adverse to creditors
without providing notice to creditors if the Debtor certifies that said modification is not materially adverse to said creditors.



 Date June 17, 2016                                                Signature   /s/ Alice Julie Bobeck
                                                                               Alice Julie Bobeck
                                                                               Debtor
 Attorney /s/ James L. Miller
                James L. Miller 1000569




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                Firm Address             735 W. Wisconsin Avenue
                                         Suite 600
                                         Milwaukee, WI 53233-2413
                Phone                    414-277-7742
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                E-mail


Chapter 13 Model Plan - as of January 20, 2011




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